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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 HIGHLAND CAPITAL                        §
 MANAGEMENT, L.P.,                       §
                                         §
                  Plaintiff,             §
                                         §
 v.                                      §    Civil Action No. 3:21-CV-00881-X
                                         §
 HIGHLAND CAPITAL                        §
 MANAGEMENT FUND                         §
 ADVISORS, L.P.,                         §
                                         §
                 Defendant.              §

                                      ORDER

      Before the Court is a report and recommendation from the United States

Bankruptcy Court. [Doc. No. 2 Exhibit 1]. The Bankruptcy Court recommends that

this Court grant the defendant’s motion to withdraw the reference when the

bankruptcy court certifies that this action is ready for trial and defer all pretrial

matters to the Bankruptcy Court. The defendant filed a limited objection. 1

      This Court holds that the Bankruptcy Court’s familiarity with the facts and

the parties make it well-situated to handle pretrial matters in this case. This Court

further finds that allowing Bankruptcy Court to handle pretrial filings would further

both judicial economy and the important goal of uniformity and efficiency in

bankruptcy administration.




      1   Doc. No. 5.

                                         1
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      Therefore, this Court ACCEPTS the recommendation. This case is hereby

REFERRED for pretrial management to the United States Bankruptcy Court.

When the Bankruptcy Court’s concludes this case is ready for trial, that Court should

notify this Court, and this Court will then withdraw the reference.

      IT IS SO ORDERED this 14th day of September, 2021.




                                             ____________________________________
                                             BRANTLEY STARR
                                             UNITED STATES DISTRICT JUDGE




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